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Name / Empl. Dates       Time Frame Division / Location Evidence                                                                           Source
Allen, Sean             1998 - present Salt             143: 10 A. I don't believe he [Mr. Deveney] supported my request to him      143
Plaintiff                              Baltimore, MD       11 about education opportunities between Cargill Salt,
                                                           12 opportunities within Cargill Salt, opportunities to be on
06/22/92 - present                                         13 a committee or special project to supplement my learning
                                                           14 and my territory, things that would have helped develop
                                                           15 me for more opportunities within the Cargill Salt
                                                           16 organization.
                                                           17 Q. And what specific request did you make that he
                                                           18 denied?
                                                           19 A. I specifically asked him to take Spanish classes
                                                           20 and he denied. I also asked him generally, knowing that
                                                           21 I had a territory that wasn't as large as some others, I
                                                           22 asked him for, to put my name in the hat when it came to
                                                           23 special projects, involvement with other parts of the
                                                           24 business, and he never did it.

Brown, Toya               During   NAGOC                 279: Q . . .                                                                279
Plaintiff               Employment Houston, TX             10 I was constantly looked to to train new merchants
                                                           11 because I was the sole merchant that had been there
03/17/97 - 03/31/01                                        12 so long. So when you have people coming and going,
                                                           13 consistently being looked to to train new people, is
                                                           14 not the same situation or consistent with the way I
                                                           15 was trained. The way I was trained was with a
                                                           16 merchant that had been at another location before
                                                           17 Houston and shortly after my arrival there was on his
                                                           18 way out the door to another promotion. . .

Cephus, Lois E.             2000      Excel              12. However, after I was demoted in 1999, I was no longer allowed to attend Para. 12
Declarant - Potential                 Dodge City, IA     any training or seminars. In January 2000, I wanted to go to a continuing      Cephus 181-83
Class Member                                             education class on Medical Records. At first, I was told that I could go, but
                                                         then Mr. Gookins said I could not go. There was another continuing education
11/10/90 - 04/09/01                                      class on Case Management in March 2000. I had asked to attend and was
                                                         given the go ahead. At the last minute, Mr. Gookins informed me that, again, I
                                                         could not go. Other Caucasian co-workers went to training after that, such as
                                                         attending safety seminars, team building, etc., but I was never sent after the
                                                         demotion.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                               Source
Collier, Michael K.   1997-1998 Corn Milling         14. I feel that Caucasians workers at Cargill get better assignments than the Para. 14-15
Declarant - Witness              Cedar Rapids, ID African American workers. Caucasians also had all the management                    Collier 49-60
                                                     positions. Caucasians received longer trips for sales meetings. I also felt that
07/12/95 - 05/30/98                                  only certain people would be assigned to certain accounts. I once asked for a
                                                     trip to visit sales people and I was finally able go on one trip. However, the
                                                     Caucasian employees, Wayne Strang, Randy Benesh, Todd Hayek and Kevin
                                                     Klawitter were able to stay on the trip to network much longer than I was
                                                     allowed to stay.
                                                     Training
                                                     15. I was able to attend customer service training for a week in Madison,
                                                     Wisconsin in the last week of October in either 1996 or 1997. However, I do
                                                     not feel I was given the same training as my Caucasian co-workers. They
                                                     were able to go to sales meetings to build their confidence and list of contacts
                                                     and I was not. Therefore, I had a harder time building a rapport with other
                                                     sales people. Mr. Hayek was able to go to events with the sales people, such
                                                     as golf outings, etc. I was not included on the golf outings. I asked
                                                     management about it and they said they didn’t think I liked golf or that Cargill
                                                     could not budget for both Mr. Hayek and me to be out of the office at the same
                                                     time.

Douglas, Virginia        1995      CIS                  158: 2    Q What is Exhibit 16?                                               158
Plaintiff                          Chicago, IL            3     A Exhibit 16 is something that I wrote up
                                                          4 documenting that there was this, I guess, informal
12/03/90 - 11/29/00                                       5 program that CIS was having, and they called it
                                                          6 University of CIS. And during this time, I had
                                                          7 questioned -- I went to Brian Melby and asked him why --
                                                          8 why can't I -- you know, can I go to this University CIS?
                                                          9 And he was telling me, I think, it was because of space I
                                                          10 couldn't go, and I thought that was not fair, because I
                                                          11 had been there -- all the people that I saw that were
                                                          12 actually going to these little sit-ins had been there --
                                                          13 came after I got there. I had been there longer than any
                                                          14 of the other people that was being invited.




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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                            Source
Gosby, Laverne H.         During   Excel               7. Throughout my Cargill career I made it known that I was interested in       Para. 7
Declarant - Potential   Employment Ottumwa, IA         moving up. If programs like Key Employee Identification System (KEIS) and
Class Member                                           Cargill Leadership Development Program (CLDP) existed while I was
                                                       employed at Cargill, I was never given a chance to express interest in or be
11/23/87 - 04/20/96                                    rated under those programs. I do not recall knowing about KEIS. I had heard
                                                       of CLDP, which is to say that about two years before I left, Mr. Mellinger may
                                                       have mentioned something about CLDP, but again, nothing happened.

Harrison, Marcia           1998      Excel               7. I felt that Cargill gave African Americans less on-the-job training than our Para. 7
Declarant - Potential                Wichita, KS         Caucasian co-workers. I did receive ORACLE training while at Cargill.
Class Member                                             However, in November or December of 1998, I asked to receive training for
                                                         IMPROMPT, which was software that was very important to know for my job.
02/23/98 - 04/01/99                                      I was not permitted to get IMPROMPT training. I was told that only one
                                                         person was allowed to go and that person was Daniel (I don’t remember his
                                                         last name), one of my Caucasian co-workers. I believe this training disparity
                                                         existed because the Caucasian managers were more comfortable with
                                                         Caucasian employees, thus promoting more communication and a better
                                                         learning environment.

Little, Vivian            During   CIS                    138:12 A. I did ask about going to Fargo, North Dakota,                       138-39
Plaintiff               employment Chicago, IL              13 to take basically an accounts payable course with Fargo,
                                                            14 to learn how to use the system and to learn more about
11/17/97 - 03/10/03                                         15 the accounts payable process. And, also, there was a
                                                            16 seminar that I felt I needed to take through the
                                                            17 International Association of Accounts Payables --
                                                            18 Accounts Payable Professionals that I asked to take, and
                                                            19 I was denied that course.
                                                            ***
                                                            24 Q. And what was their response?
                                                            25 A. It was not really very much of a response.
                                                          139: 1 Something like, "We'll see."

Little, Vivian             2002      CIS                  139:24 Q. Who were your primary resources as you were                         139-40
Plaintiff                            Chicago, IL            25 learning the accounts payable position?
                                                          140: 1 A. Pamela Ronan, . . .
11/17/97 - 03/10/03                                         ***
                                                            12 A.       . . . she was basically very nonresponsive to
                                                            13 my questions, to my desire to learn more about the job,
                                                            14 to my wanting to take further training. There was a
                                                            15 time when I sent her a memo after having been on the job


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Name / Empl. Dates      Time Frame   Division / Location Evidence                                                                              Source
                                                            16 for maybe four months. I had questions about many
                                                            17 different things, and I sent her a memo detailing
                                                            18 those -- those issues. And it took her, like, two weeks
                                                            19 to get back to me to answer those questions, and she sat
                                                            20 right next to me.
                                                            21 Q. Why didn't you just ask her, if she sat right
                                                            22 next to you?
                                                            23 A. I did. She told me to put it in a memo -- a
                                                            24 memo, an e-mail, and that's what I did.

McDowell, Anthony       2000 - 2002 NAGOC / GROSNA 124:20 Q. And did you ever receive any training from                                  124-25
Plaintiff                           Fayetteville, NC   21 Mr. House with respect to the boiler room process?
                                                       22 A. No, sir.
11/12/97 - 04/02/03                                    23 Q. Did you ever ask Mr. House at some point in
                                                       24 time whether you would be receiving such training?
                                                       25 A. Yes, sir.
                                                     125: 1 Q. What was his response?
                                                       2 A. He didn't have time.

McDowell, Anthony       2000 - 2002 NAGOC / GROSNA 177: 3 Q. Did he ask you whether there were any things                                177
Plaintiff                           Fayetteville, NC 4 he could do specifically to help you in any of these
                                                     5 areas?
11/12/97 - 04/02/03                                  6 A. No, sir.
                                                     7 Q. Did you suggest anything to him that you felt
                                                     8 you hadn't received or hadn't been made available to
                                                     9 you that would help you?
                                                     10 A. Yes, sir.
                                                     11 Q. What were those?
                                                     12 A. That I needed more, more training in this
                                                     13 area. He's speaking specifically about the refinery,
                                                     14 that I needed more training.

Reid, Angela Y.            1996      FMD                10. I also feel that I was not given the same training opportunities as my       Para. 10
Declarant - Potential                Charlotte, NC      Caucasian co-workers. About six months after I started working, I asked for      61-66 (03/30/04)
Class Member                                            some training in loan processing. I did not receive the training but I believe   65-68 (04/27/04)
                                                        that Jackie Icenhour did.
10/16/95 - 01/14/100




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                             Source
Ross, Tonya           1995 - 1996 Corn Milling        73:15 Q. Is the decision to hire Ms. Bogdanski part of                        73
Plaintiff                         Dayton, OH            16 your case, do you believe that was discriminatory?
                                                        17 A. To a degree, yes, because I felt that, I observed
12/10/91 - 06/16/01                                     18 I could say differential treatment to Ms. Bogdanski in
                                                        19 that she was the starch coordinator at the time and I was
                                                        20 the high fructose coordinator I think, and she was
                                                        21 allowed to attend seminars, benchmarking, I felt that
                                                        22 they prepared her for that position. They allowed her to
                                                        23 get the training and knowledge that she needed to
                                                        24 progress and I don't feel that I was given that same
                                                        25 opportunity.

Ross, Tonya             During   Corn Milling          288: 1 the opportunity to go to develop the skills such as Ree               288
Plaintiff             employment Dayton, OH              2 did in the beginning where she had the opportunity to
                                                         3 leave the department mostly in my hands or in others'
12/10/91 - 06/16/01                                      4 hands to go out and benchmark, to go to the other plants.
                                                         5 I worked for Cargill for nine years and I'd never been to
                                                         6 any other of their plants, but other coordinators have.
                                                         7 To go and benchmark processes, to ride with sales reps
                                                         8 and gain the knowledge that you would need to be a
                                                         9 successful customer service manager, those training
                                                         10 opportunities were not afforded to me.

Smith, Candy             1996      CIS                 9. In 1996, there was a job opening in the computer area. The job was posted Para. 9
McKinnon                           Chicago, IL         on the website. The qualifications were familiarity with computer terms and   Smith 83-84
Declarant                                              knowledge of computer software. I tried to apply for that position, but I was
                                                       told that I was not qualified. That position went to Ms. Keever. Ms. Keever
04/27/92 - 08/02/97                                    did have some computer knowledge, but she had that because Cargill had
                                                       given her more opportunities to learn different areas. I was not given those
                                                       same opportunities.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                Source
Tate, Tausha            During   Corn Milling        102:18 . . .The other item that you mentioned was that he           102-03
Plaintiff             Employment Memphis, TN            19 took time with Mr. Alfieri and didn't take time with you.
                                                        20 I assume that that's kind of in a training or coaching
06/15/98 - 04/14/00                                     21 role?
                                                        22     A Yes, sir.
                                                        23     Q Okay. How often did you observe Mr. Turner
                                                        24 working with Mr. Alfieri in that kind of a role?
                                                        25     A Several times. I can't put my hands on it. It
                                                     103: 1 wasn't just Matt Turner who took time with him. There
                                                        2 were other managers on the Southside who would come and
                                                        3 get him and take him out and show him things, and I would
                                                        4 be sitting there, and they wouldn't look at me, let alone
                                                        5 speak to me.
                                                        6     Q Well, did you ever ask to be taken out, to --
                                                        7     A Yes.
                                                        8     Q -- to be shown a production process or a
                                                        9 particular line or something like that?
                                                        10     A Yes.
                                                        11     Q Who did you ask?
                                                        12     A Darren Litle.
                                                        13     Q Okay. And did he ever do it?
                                                        14     A Once.
                                                        15     Q How many times did you ask?
                                                        16     A I asked for us to set up a meeting time once a
                                                        17 week to sit down and comb through the process so that I
                                                        18 could build my process knowledge, and he agreed. And it
                                                        19 was never -- I don't think he took it seriously. And
                                                        20 then he did not complete his end of the bargain in
                                                        21 helping me to learn the process.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                   Source
Tate, Tausha            During   Corn Milling        112:12        Q All right. In terms of training, what kinds of         112-13
Plaintiff             Employment Memphis, TN            13 training did you think Mr. Litle should have been giving
                                                        14 you and wasn't?
06/15/98 - 04/14/00                                     15      A Process training, crew management training.
                                                        ***
                                                        25      A Informal, on the job.
                                                     113: 1       Q Okay.
                                                         2     A Walking me through processes, showing me that
                                                         3 this is a widget, or what have you. You do this to open
                                                         4 it. If you do this, this happens, is what I requested
                                                         5 several times.
                                                         6     Q And you believe that Mr. Litle was behaving
                                                         7 this way because of your race?
                                                         8     A Yes, sir.
                                                        ***
                                                        16      Q What was Mr. Litle doing with respect to
                                                        17 Mr. Alfieri that led you to believe that you were being
                                                        18 treated differently?
                                                        19      A I saw him showing him different parts of the
                                                        20 process, walking him through certain things.

Tate, Tausha            During   Corn Milling           144: 7     Q Aside from the kind of informal training that          144
Plaintiff             Employment Memphis, TN               8 you've talked about that you asked for from Mr. Litle and
                                                           9 Mr. O'Hare and maybe Mr. Turner, was there any kind of
06/15/98 - 04/14/00                                       10 formalized training at Cargill that you wanted that you
                                                          11 didn't get?
                                                          ***
                                                          14     A There was a oilseeds training program that all
                                                          15 the new engineers/production managers were going through,
                                                          16 and they were doing it in segments. Every four or five
                                                          17 months they would pull out a new production manager. And
                                                          18 I was denied going to that training and James was allowed
                                                          19 to go to that training during a down that he was
                                                          20 primarily responsible for. And I didn't have any primary
                                                          21 responsibilities during the down. There was no
                                                          22 justification as to why I was withheld from going to that
                                                          23 training.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                        Source
Tyler, Emily            During   CIS                 237: 5 Q. So as you sit here today you can't give me                      237
Plaintiff             Employment Chicago, IL            6 any specific examples of times when you felt that
                                                        7 training was being given to you or denied to you
05/26/92 - 08/05/00                                     8 discriminatorily?
                                                        9 A. I guess you could say training was denied by
                                                        10 the fact that a lot of the available training I was
                                                        11 not aware of. Things that you mentioned, like this
                                                        12 CLDP. So in that respect, if I was not aware of it,
                                                        13 then I was denied training.
                                                        14 Q. Do you believe that you were not aware of the
                                                        15 CLDP program because of your race?
                                                        16 A. I believe that's possible.

Wint, Steve             During   Salt                  194:23       Have you ever asked for any training that                  194-95
Plaintiff             Employment Tampa, FL               24 you've been denied?
                                                         25 A. Yes.
04/17/00 - 02/26/04                                      ***
                                                       195: 2                           . . . It was
                                                          3 something that Jim Crawford had that at our
                                                          4 facility -- where he said, well,
                                                          5 he -- opportunity to visit other plants, other
                                                          6 facilities. But I -- I offered to be one of the
                                                          7 selected that -- that gets that, but nothing
                                                          8 ever come about it.
Wright, Sean            During   NAGOC                 103:21     Q Anything else?                                             103-04
Plaintiff             Employment Minnetonka, MN          22     A I don't believe I was trained, incidents of
                                                         23 training with Mr. Kohler. I mean, it just wasn't as
05/19/97 - 08/05/00                                      24 frequently or as hands-on as I thought it should have
                                                         25 been teaching me the business. On one aspect, he would
                                                       104: 1 say that I needed more ownership of the business, and I
                                                         2 needed to be more proactive in taking ownership of the
                                                         3 business. And by the same token, there were efforts and
                                                         4 innovations that I made towards, you know, learning the
                                                         5 business and becoming more of the part of the business
                                                         6 and trying to take some ownership and wanting the
                                                         7 training to explain to me why certain things were done
                                                         8 the way they were done and how they should be done and
                                                         9 what I should be looking at, and I felt they fell on deaf
                                                         10 ears.


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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                  Source
Wright, Sean            During   NAGOC               242: 10     A Well, other employees, other attendees of grain         242-43
Plaintiff             Employment Minnetonka, MN         11 school, were allowed to do the work while they were
                                                        12 working at Cargill.
05/19/97 - 08/05/00                                     13    Q And who was that?
                                                        14    A Give me the list of the -- of the grain school
                                                        15 participants and I can tell you. August Hauschild. The
                                                        16 rest of the merchant class who attended grain school with
                                                        17 me. They were allowed to work during normal work hours
                                                        18 on their grain school assignments. They were given
                                                        19 opportunities to sit down with their manager, or their
                                                        20 manager took the time to pull them aside and to work with
                                                        21 them on their assignments and to work during normal
                                                        22 business hours. That was not a luxury that I was
                                                        23 afforded.
                                                        24    Q Did you ever ask Mr. Kohler if you could have
                                                        25 time during the day to do the grain school prework?
                                                     243: 1     A Yes.
                                                        2     Q And what did he say?
                                                        3     A He told me that the workload and the amount of
                                                        4 things that we had to do around there and the time period
                                                        5 did not permit me to do that.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                   Source
Acquaye, Nii-Akwei       2001    HFT                 173: 6 Q You spoke earlier about your meeting with                   173
Plaintiff                        Minnetonka, MN         7    Mr. Kollodge and you indicated that at the
                                                        8    conclusion of the meeting he said that he would
05/02/97 - 03/00/02                                     9    look into your concern about compensation and get
                                                        10    back to you.
                                                        11 A That is correct.
                                                        12 Q Did he get back to you?
                                                        13 A No, he didn't.

Allen, Sean              1997      Corn Milling        28: 3 Q. When your position changed to Ethanol/CO2 sales           28
Plaintiff                          Minnetonka, MN        4 rep in 1997, was that a promotion?
                                                         5 A. No.
06/22/92 - present                                       6 Q. Did you receive an increase in salary when you
                                                         7 became an Ethanol/CO2 sales rep?
                                                         8 A. Not originally.
                                                         9 Q. Why not? What do you mean when you say "not
                                                        10 originally"?
                                                        11 A. I took on the duties of Ethanol/CO2 sales rep
                                                        12 without an increase in pay. And later on in the year of
                                                        13 1997 I was given a merit increase, but that was
                                                        14 subsequent to me doing the job.
                                                       ***
                                                        20 A. Not originally. When I received the pay increase
                                                        21 later in 1997 my grade changed, was changed to salary
                                                        22 class level eight.




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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                    Source
Allen, Sean          1994-1998 Corn Milling          93: 9 Q. Now I want to turn to the four and a half to five             93-94
Plaintiff                       Minnetonka, MN         10 years that you spent as an Ethanol sales rep in the Corn
                                                       11 Milling division . . .
06/22/92 - present                                     ***
                                                       19 Q. In terms of your rate of pay, why do you say that
                                                       20 you believe your rate of pay was limited?
                                                       21 A. I would talk to my manager often about my, the
                                                       22 scope of my job, what I was being asked to do, and the
                                                       23 experience level that I was asked to do it with and I
                                                       24 explained that I felt as though I was underpaid and I was
                                                       25 constantly asking for my pay to be reviewed and I was
                                                     94: 1 told that I was paid, I was paid well and I was paid at a
                                                        2 higher level than others in the organization. However,
                                                        3 when I would talk to other managers in the organization,
                                                        4 they would tell me I should be paid much higher than the
                                                        5 level I was being paid.

Allen, Sean             1994      Corn Milling         97: 7 Q. What did Mr. Torres say about your pay?                     97-98
Plaintiff                         Minnetonka, MN         8 A. He would primarily tell me that he believed that
                                                         9 my salary grade was low for a person of my experience and
06/22/92 - present                                      10 tenure with Cargill, that he didn't understand why my
                                                        11 salary grade wasn't somewhere near a salary grade level
                                                        12 nine. He also didn't understand why I wasn't eligible
                                                        13 for bonus. The bonus structure was subjective in his
                                                        14 opinion.
                                                        ***
                                                        23 A. He was comparing me with . . .
                                                        24                                             . . . the
                                                        25 progression of a typical merchant and/or salesperson that
                                                       98: 1 would have had at the time . . .
                                                        ***
                                                         8 and seeing our knowledge bases and levels, he didn't
                                                         9 understand why I wasn't being paid similarly or graded
                                                        10 similarly.




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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                       Source
Allen, Sean          2000-2001 Salt                  136:10                . . . I had performed well and grew                 136-37
Plaintiff                       Baltimore, MD          11 my territory, but had yet made less money and I wanted my
                                                       12 salary to be reviewed because I felt as though I was
06/22/92 - present                                     13 being disproportionately compensated. And Rick [Schoenfelder] said
                                                    that
                                                       14 he would, he would look into it. That was our first
                                                       15 conversation.
                                                       16          And then in January of 2001 we had a
                                                       17 secondary conversation where he said to me that he had
                                                       18 talked to Mike Schmit about my compensation and Mike said
                                                       19 there was nothing that could be done, we could not make a
                                                       20 base salary adjustment, and he further advised me not to
                                                       21 ask questions about that because there were other people
                                                       22 who weren't making commissions and I'd look like I was a
                                                       23 complainer and he cautioned me about asking about my
                                                       24 salary.
                                                       25 Q. Did he say what other people also were upset
                                                     137: 1 about their compensation?
                                                        2 A. He didn't say -- he didn't mention any specific
                                                        3 names. He used that as a leverage to say other people
                                                        4 may or may not be in the same situation that you're in so
                                                        5 you shouldn't complain about it, you know, be careful
                                                        6 about what you complain about.




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Name / Empl. Dates   Time Frame Division / Location Evidence                                                               Source
Allen, Sean             2001    Salt                137:13 A. As a follow-up to that the thing that confirmed          137-38
Plaintiff                       Baltimore, MD          14 my assumptions about pay was that in April of 2001 there
                                                       15 was a sales meeting in which Mike Schmit put up the
06/22/92 - present                                     16 minimum, the maximum and the median for pay for the sales
                                                       17 organization and he compared those who had been under the
                                                       18 old territory manager compensation plan that I was a part
                                                       19 of when I first joined Salt and then two or three years
                                                       20 later now what those same numbers were for the same
                                                       21 people. And my numbers fell outside of, when I say
                                                       22 outside, I mean below the minimum in that range. And
                                                       23 that alarmed me.
                                                       24 Q. Do you know who else's fell below the minimum?
                                                       25 A. No, I do not. I do know that I was the only
                                                    138: 1 African American territory manager in Salt during that
                                                       2 time frame.
                                                       3 Q. Are you still the only African American territory
                                                       4 manager in Salt?
                                                       5 A. Yes.

Allen, Sean             1999     Salt                147:15 Q. How about Rick Schonfelder, has he ever done            147
Plaintiff                        Baltimore, MD         16 anything that you believe is somehow discriminatory?
                                                       17 A. I think his support of Cargill's pay policy with
06/22/92 - present                                     18 respect to me was discriminatory.
                                                       19 Q. Why?
                                                       20 A. Because I was in a position where my salary had
                                                       21 been greatly reduced and I complained and showed him the
                                                       22 data as to how it had been reduced and how I felt it was
                                                       23 unfair, and he could see that I was making a fair case
                                                       24 but told me that, you know, that I had to just grin and
                                                       25 bear it and not to complain about it.




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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                 Source
Arnold, Roderick       During   Corn Milling        196:14 A. I'm not sure what increases Dolski, Kling,                 196-97
Plaintiff            Employment Minnetonka, MN         15 Greavu received or what salaries they were
                                                       16 positioned at, but I actually heard -- overheard
11/05/79 - present                                     17 Mr. Greavu [co-worker] discussing his salary over the phone.
                                                       ***
                                                       20 Q. What did you hear it to be?
                                                       21 A. It was six figures.
                                                       22 Q. And?
                                                       23 A. And I wasn't earning six figures.
                                                       24 Q. And you think you should be?
                                                       25 A. I think I should have been compensated equally
                                                    197: 1 with Mr. Greavu [co-worker].
                                                        2 Q. Because?
                                                        3 A. At the very minimum.
                                                        4 Q. Because?
                                                        5 A. His job was not -- or should not have been
                                                        6 higher -- a higher grade than mine.
                                                        ***
                                                       10 A. . . . Mr. Greavu [co-worker] had less experience in
                                                       11 the organization, less experience in
                                                       12 transportation. His education is no greater
                                                       13 than mine. His level of responsibility in terms
                                                       14 of impact, if they used their equitable -- or if
                                                       15 they used a grading system to evaluate the
                                                       16 positions, was not greater than the level of
                                                       17 impact that my position had. So we should have,
                                                       18 at the very worst, been compensated equally.




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                  SELECTED COMPENSATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                   Source
Branham, Hollis       2001-2002 Phosphprod           173: 7 Q. Why do you have Yetty [African American] by the words "2001- 173-75
Plaintiff                        Tampa, FL           2002
                                                         8 compensation"?
07/21/00 - 10/01/01                                      9 A. Because during her time there she was supposed to
                                                        10 get a raise or was expecting a raise at her one-year
                                                        11 fiscal, and she did not get it and she begin to ask
                                                        12 questions. She talked with Angela [Nguyen] about it and Angela
                                                        13 said that she would look into it and she never gave a
                                                        14 response. And Yetty wrote a letter to Angela to the HR
                                                        15 department to Ozzie stating her concerns about
                                                        16 compensation, why was her compensation being delayed when
                                                        17 Jamie [Mellon] had gotten a couple increases during his time
                                                        18 there.
                                                        ***
                                                     174: 18 Q. Do you know whether or not he received an
                                                        19 increase in pay?
                                                        20 A. I'm confident that he did receive increase in
                                                        21 pay.
                                                       ***
                                                     175: 1 Q. What about Kwasi, why do you have Kwasi listed
                                                         2 here by the end of 2002 compensation?
                                                         3 A. Because Kwasi was the senior plant chemist and Du [Nguyen]
                                                         4 got increases that surpassed Kwasi during the short
                                                         5 period of time that he was there.
                                                         6 Q. How do you know that?
                                                         7 A. Du went and told Kwasi.

Branham, Hollis          2001     WWPHOSPH-          177: 18 Q. And has Mr. Williams [African American] ever complained to   177
Plaintiff                         PHOSPNPROD        you that
                                  Tampa, FL            19 he thought that his compensation had been affected by his
07/21/00 - 10/01/01                                    20 race?
                                                       21 A. He complained to me that his compensation was
                                                       22 very different from his peers.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                              Source
Collier, Michael K.      1997    Corn Milling        6. When I was hired, [as starch coordinator] I was told that I would get paid at Para. 6
Declarant - Witness              Cedar Rapids, ID the same level as Todd Hayek (Caucasian), who was an EX005 or EX006, but 125-129
                                                     I never was paid at that level. I had started out making $12.25 an hour and
07/12/95 - 05/30/98                                  later moved up to $13.00 an hour. I did not feel that I was adequately
                                                     compensated. I felt lied to about my starting salary because they said I would
                                                     make a higher amount and I never did. I did not complain about my salary
                                                     because my attitude was that my work would take care of that. There was
                                                     also a point when I had to do truck dispatcher work and some rail coordinator
                                                     duties as well as my regular job duties as Starch Coordinator. I was never
                                                     given additional compensation for the added responsibilities.

Collins, Dawn           During   Admin                  159:13    A Scott had informed me that -- Scott Van Orsdel                  159
Plaintiff             Employment Minnetonka, MN           14 had informed me that within the financial job family,
                                                          15 with regards to compensation, African American women were
07/20/92 - 08/02/00                                       16 at the lowest -- lowest level relative to their peers.

Collins, Dawn           During   Admin                  264: 9      Q Okay. Let me put it a different way then. As                  264-65
Plaintiff             Employment Minnetonka, MN           10 you sit here, do you have any information to believe that
                                                          11 you were not compensated fairly?
07/20/92 - 08/02/00                                       12      A The compensation process is closely tied with
                                                          13 the performance appraisal process, and because I don't
                                                          14 feel that the performance appraisal process is fair, then
                                                          15 I -- I can't say that my compensation is fair.
                                                          ***
                                                        265: 1      Q At any time -- at you sit here today, do you
                                                           2 think that at any time while you were employed at Cargill
                                                           3 you were compensated unfairly because of race?
                                                           4     A I know what Scott Van Orsdel indicated to me
                                                           5 was that African American women in the financial job
                                                           6 family, which is where I spent seven years or so, are
                                                           7 compensated at the low end of the spectrum relative to
                                                           8 their white male and female counterparts.




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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                   Source
Dickson, Della        After 1996 Admin              332:12     Q At any point in your career, did you learn that           332-33
Plaintiff                        Minnetonka, MN        13 you were earning less pay than peers?
                                                       14    A I have no direct knowledge of that, but I
07/21/80 - present                                     15 certainly have seen indications that that is so.
                                                       16    Q And what indications have you seen?
                                                       17    A For example, in passing out United Way pledge
                                                       18 forms, there are different pledge forms given to
                                                       19 employees who were considered highly compensated.
                                                       20    Q Pledge forms asking them to give more money?
                                                       21    A I would assume that they were.
                                                       22    Q And what did you learn from observing who got
                                                       23 which pledge form?
                                                       24    A I observed that there were some people that I
                                                       25 considered to be peers that were receiving highly
                                                    333: 1 compensated United Way requests, when I wasn't receiving
                                                       2 them.
                                                       3     Q And who was that?
                                                       4     A Well, just about everybody in my department
                                                       5 when I was in CTI.

Dickson, Della       Mid-1990s to Admin              544:13     Q Has your salary ever gone down?                          544-45
Plaintiff               2000      Minnetonka, MN       14     A My yearly salary has gone down in terms of my
                                                       15 gross earnings, yes.
07/21/80 - present                                     16     Q And when is that?
                                                       17     A I experienced some years in the middle '90s
                                                       18 where I earned less money one year than I did the year
                                                       19 before, depending on the level of bonus or whether I got
                                                       20 a bonus. Also, I think in 2000 I earned less than I did
                                                       21 in '99.
                                                       22     Q And is that -- why is that?
                                                       23     A As I said before, the combination of salary and
                                                       24 bonus. If the bonus isn't there or is not existent, it's
                                                       25 possible to earn less one year than you did the previous
                                                     545: 1 year.




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Name / Empl. Dates     Time Frame Division / Location Evidence                                                                   Source
Dickson, Della         1990 - 1999 Admin              109: 3    Q Have you ever been at any meetings where                   109-10
Plaintiff                          Minnetonka, MN         4 general transportation managers discussed compensation?
                                                          5    A Yes.
07/21/80 - present                                        6    Q And when is that?
                                                          7    A I've been at GTM meetings where compensation
                                                          8 was discussed in relationship with overall career
                                                          9 advancement, opportunity, track -- you know, career
                                                         10 tracking. Not that this individual gets paid this much
                                                         11 or that individual gets paid that much, but a number of
                                                         12 times during my tenure with Cargill, people have
                                                         13 complained about there not being a defined career track
                                                         14 for professionals to track through. It seemed to be
                                                         15 somewhat of a haphazard approach to promotions that
                                                         16 weren't directly connected to the level of work that
                                                         17 people put in or their achievements, so...
                                                         ***
                                                      110: 3     A The time frame I'm referencing would be during
                                                          4 the 1990s. From 1990 to, perhaps, 1998 or 1999.

Douglas, Virginia        During   CIS                   60: 13     Q What pattern are you talking about?                     60-61
Plaintiff              Employment Chicago, IL            14     A The pattern of always trying to -- I have to go
                                                         15 to -- I don't know how to put this. I have to always
12/03/90 - 11/29/00                                      16 push, fight, not fight phys-- you know -- I'm lost for my
                                                         17 words right now. It always seem that whenever I wanted
                                                         18 positions, it was hard for me to get them. There was
                                                         19 always barriers, excuses. Even like with the seg record
                                                         20 position, you know, the discussions that I was given,
                                                         21 eventually they gave it to me, but at a lower grade.
                                                         22     Q I want to go back to that comment. You said
                                                         23 eventually that they gave you the seg position. They,
                                                         24 again, Karen Carlos?
                                                         25     A Yes.
                                                        61: 1    Q What do you mean when you say but at a lower
                                                          2 grade?
                                                          3    A It was posted as a grade four. When I got --
                                                          4 when they gave -- when I was given the position, it was
                                                          5 at a grade two.




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Name / Empl. Dates     Time Frame Division / Location Evidence                                                                      Source
Douglas, Virginia         2000    CIS                  86:11     Q Other than the reorganization we've just                     86-87
Plaintiff                         Chicago, IL            12 discussed, did anything else happen to you while you were
                                                         13 an accounting supervisor that you believe was somehow
12/03/90 - 11/29/00                                      14 discriminatory?
                                                         15    A One of the things that I thought wasn't fair
                                                         16 was when they gave me the position, they only gave me
                                                         17 half the raise. And they said I would get the other
                                                         18 half, six to nine months.
                                                         19    Q Okay. And when you say "they," to whom were
                                                         20 you referring?
                                                         21    A The -- at the time Richard was -- Richard Levin [Caucasian]
                                                         22 was the accounting manager. He was the one I had the
                                                         23 conversation with.
                                                         24    Q Why did you believe that was unfair?
                                                         25    A Because there was another -- another guy that
                                                       87: 1 went from accounting to treasury. His name was Neal
                                                         2 Banwart. He -- when he went to the treasury department,
                                                         3 I had asked him, did he get his full raise, he said he
                                                         4 did. I only got half my raise.

Douglas, Virginia         2000      CIS                 92: 4    Q Do you believe that the fact that you received               92
Plaintiff                           Chicago, IL           5 half of your increase when you became an accounting
                                                          6 supervisor was somehow based on your race?
12/03/90 - 11/29/00                                       7    A Looking at all the parties who receive half and
                                                          8 the ones that receive whole, yes.

Douglas, Virginia      After 1999   CIS                 171:                                                                    171-72
Plaintiff                           Chicago, IL           20     Q Why do you say that Heidi Boesen [Caucasian] was paid more
                                                          21 than you were?
12/03/90 - 11/29/00                                       22     A I believe that she was because of the rate
                                                          23 of -- the speed of how she advanced. One of the things
                                                          24 that I can remember when I was in treasury, I think my
                                                          25 grade was a two. And when I came back to accounting --
                                                        172: 1 when we switched positions, it became a four. Well, I
                                                          2 don't think that she went back down to a two.




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Name / Empl. Dates      Time Frame Division / Location   Evidence                                                                          Source
Ford, Glenn             1995-1996 Administration         7. I complained about my salary in both 1995 and 1996. At the time, I had to Para. 7
Declarant - Potential              Minnetonka, MN        do full color work, whereas the other guys did not. Mr. Ames was running a
Class Member                       (Office Center)       smaller machine than I was, yet he was making more than me. So, I asked for
                                                         a raise. I was told I would have to prove myself. This was after I had received
12/08/69 - 11/01/96                                      awards for some of my press work.


Fowler, Raymond E.         1997     Excel                4. When I resigned, others also had recently resigned. Those others were       Para. 4
Declarant - Potential               Wichita, KS          offered additional money to stay. I was not offered additional money.          55-57
Class Member

04/20/92 - 07/17/97


Fowler, Raymond E.         1996     Excel                9. There was also a time when my supervisor, John Blair (Caucasian)            Para. 9
Declarant - Potential               Wichita, KS          disappeared with no warning and I was asked to take over the big project that 99-100
Class Member                                             he had been working on. The project was an Epic Success, which involved
                                                         converting all of payroll into Cargill’s system. I spearheaded the project. We
04/20/92 - 07/17/97                                      had video conferencing throughout the region. I never received a salary
                                                         increase for that work, even though it was completed ahead of schedule and
                                                         was a success.


Gosby, Laverne H.       1995-1996   Excel                8. My compensation was also lower than it should have been, given my            Para. 8
Declarant - Potential               Ottumwa, IA          responsibilities. I worked at two different locations. I was stationed in Iowa, 164-75
Class Member                                             but for a number of months I also had to cover the plant in Marshall, Missouri.
                                                         I was doing the work of a regional human resources manager, but I was only
11/23/87 - 04/20/96                                      getting paid what a human resource manager of even one plant normally
                                                         made.

Harrison, Marcia        1998-1999   Excel                5. Although employees rarely discussed salaries, I believe Caucasians      Para. 5
Declarant - Potential               Wichita, KS          employees with backgrounds similar to mine were making more money than I 167-172
Class Member                                             was. Actually, I know that other Caucasian employees, such as Christy
                                                         Ferguson and Brenda McKinney, received a bonus during the year I worked at
02/23/98 - 04/01/99                                      Cargill because they told me. In contrast, I never received a bonus from
                                                         Cargill.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                    Source
Hughey, Cheneta       1996-1997 Seed                  66:18          Are you claiming that you lost any wages               66
Plaintiff                        Minnetonka, MN         19    while you were employed at Cargill?
                                                        20    A Yes. Because, one, I should have received an
07/08/96 - 12/19/97                                     21 increase. I wouldn't have had a raise in over two years.


Jenkins, Jacqueline      1998      CMD / CGD            88:22 Q. Now when you started as a merchant trainee                 088 - 89
Plaintiff                          Chicago, IL           23 you received a certain salary, correct?
                                                         24 A. Correct.
07/11/88 - 09/01/97                                      25 Q. How was that initial salary determined?
                                                        89: 1 A. Based on what Robin Jackson said to me, that
                                                          2 the salary was, it was a base salary, and with an
                                                          3 advanced degree there was a, I think it was a $2,000
                                                          4 premium for a master's degree.
                                                          5 Q. And did everyone receive the same base, all
                                                          6 the 40 who started with you?
                                                          7 A. I only know of one who received the exact
                                                          8 same salary I did.
                                                          9 Q. And who was that?
                                                         10 A. Dan Turner.
                                                         11 Q. Do you know how that base salary was set?
                                                         12 A. I only know Robin said that his base salary
                                                         13 was twenty-one five. You got a $2,000 bonus for a
                                                         14 master's degree, and Dan Turner was making 23,500 and
                                                         15 he did not have a master's degree.
                                                         16 Q. How did you learn what his salary was?
                                                         17 A. He shared that information with me.
Jenkins, Jacqueline     During   CMD / CGD             298:13 Q. Why do you think that the fact that you                    298-99
Plaintiff             Employment                         14 didn't get a bigger raise was somehow based on your
                                                         15 race?
07/11/88 - 09/01/97                                      16 A. Because based on my salary throughout my nine
                                                         17 years, I was always barely in the, I was basically in
                                                         18 the lower range of every class that I was ever
                                                         19 assigned.
                                                         ***
                                                       299:
                                                          2 A. Because after having conversations with the
                                                          3 African-Americans that I noted earlier, they felt the
                                                          4 exact same thing that I did. I did not, I do not
                                                          5 recall, other than Martin Parker, discussing their

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Name / Empl. Dates    Time Frame    Division / Location Evidence                                                                 Source
                                                            6 discontent with salaries. I did not see others
                                                            7 struggling financially to buy a home or, often they
                                                            8 talked about the stocks that they traded. That
                                                            9 requires income to do those things. I knew how to do
                                                           10 them but having funds available to do it was
                                                           11 difficult. The majority of the people I worked with
                                                           12 were single household income, the Caucasian men's
                                                           13 wives were primarily homemakers, they weren't
                                                           14 working.
                                                           15       So based on discussion with
                                                           16 African-Americans, most of them were, if they weren't
                                                           17 single, they had dual household income and were still
                                                           18 struggling.
Lewis, Keith            1997       Admin                118:                                                                 118 - 19
Plaintiff                          Minnetonka, MN           6 Q. I take it you were negatively surprised so to
                                                            7 speak. Did you have some reason to expect it would
11/02/91 - 07/16/99                                         8 be more than what it turned out to be?
                                                            9 A. I had thought that my bonus for that calendar
                                                           10 year would be a combination of my performance at CIS
                                                           11 and my performance at CPR.
                                                           ***
                                                           17 Q. Did you think that some of, you might get a
                                                           18 payout out of a CIS bonus pool as well as the CPR
                                                           19 bonus pool?
                                                           20 A. Yes, I did.
                                                           ***
                                                           25 A. There had been other, I think, CIS employees
                                                        119: 1 that had transferred to other divisions or to
                                                            2 corporate during the course of the fiscal year and I
                                                            3 suppose via the grapevine or just in conversations,
                                                            4 that when bonuses were distributed that they
                                                            5 received, you know, an allocation from CIS, their
                                                            6 bonus was a combination of CIS and their current
                                                            7 position that they had transferred to.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                     Source
Lewis, Keith             1998    CCI                 343:17 Q. If we go down to the third entry, "April                     343
Plaintiff                        Minnetonka, MN         18 1998: Compensation in connection with his promotion
                                                        19 to I/T Consultant." What about your promotion to I/T
11/02/91 - 07/16/99                                     20 consultant did you find discriminatory in April of
                                                        21 1998?
                                                        22 A. Well, I'm moving to an entirely different
                                                        23 position, a different job grade. I didn't, I wasn't
                                                        24 compensated for that change in grade.

Little, Vivian          During   CIS                   147: 12 Q. Let's talk about your compensation claim. What            147-48
Plaintiff             Employment Chicago, IL             13 exactly happened to you that you claim was
                                                         14 discriminatory on the basis of race with respect to your
11/17/97 - 03/10/03                                      15 compensation?
                                                         16 A. I don't feel that I was being compensated
                                                         17 fairly, because in many -- in all cases, I was -- when I
                                                         18 worked in sales and marketing and my work in accounts
                                                         19 payable, I was doing the job of two people. I was doing
                                                         20 way more than I was asked to do, and I don't feel
                                                         21 that -- that I was compensated fairly.
                                                         22 Q. Okay. So is your claim that you were doing a
                                                         23 lot more work than you were getting paid for?
                                                         24 A. Yes.
                                                         25 Q. Do you think you were being -- Now, why is that
                                                       148: 1 discriminatory on the basis of race?
                                                         2 A. It's discriminatory because I believe that if I
                                                         3 had been a non-African-American person, that I would
                                                         4 have been paid more to do all the work that I was doing.

Little, Vivian          During   CIS                   160:19 Q. And in making these salary decisions, do you               160
Plaintiff             Employment Chicago, IL             20 agree that perhaps tenure with the company might be a
                                                         21 legitimate factor to determine salary?
11/17/97 - 03/10/03                                      22 A. I think it's a possibility, but I also know
                                                         23 that things were very -- were done in a very subjective
                                                         24 manner at Cargill. If your boss liked you, then you
                                                         25 would get raises. If your boss liked you, then you
                                                       161: 1 would get bonuses.




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Name / Empl. Dates     Time Frame Division / Location Evidence                                                                        Source
Little, Vivian           During   CIS                 167: 9 Q. Was there a salary increase when you became an                    167-68
Plaintiff              Employment Chicago, IL            10 accounts payable clerk?
                                                         11 A. No, there was not.
11/17/97 - 03/10/03                                      ***
                                                         19 A.                    . . . when I moved to that
                                                         20 position, I was not giving -- given a pay increase. And
                                                         21 I was told the reason that I was not given a pay
                                                         22 increase was because I had received one in January and
                                                         23 it was too soon to receive another one, and that in six
                                                         24 months, they would re-- take another look at -- at my
                                                         25 file and decide if they wanted to give me a pay
                                                      168: 1 increase.

McDowell, Anthony      2000-2002    NAGOC              435:10 "Compensation." What about your compensation between                435, 438
Plaintiff                           Fayetteville, NC     11 December 2000 and February 2002 do you think was
                                                         12 discriminatory?
11/12/97 - 04/02/03                                      13 A. I felt that my peers were being paid more
                                                         14 than what I was being paid.
                                                         15 Q. And when you say "peers," to whom are you
                                                         16 referring?
                                                         17 A. Other crew leaders.
                                                         ***
                                                       438: 5 A. I asked him . . .
                                                          6 . . . how much did Mr. House
                                                          7 start him out with.
                                                          8 Q. Do you remember what his response was?
                                                         ***
                                                         11 A. He asked me what was I making first.
                                                         ***
                                                         15 A. I told him $16.00.
                                                         16 Q. And what was his response to that?
                                                         17 A. Then he said, "I make more than that."

Mitchell, Michael         1999      Phosphprod         316:23 Q. Do you recall having any concerns about the                      316-17
Plaintiff                           Tampa FL             24 information [about salaries] that was provided during that meeting?
                                                         25 A. The only concern that I saw was when they
10/12/99 - 08/14/01                                    317: 1 showed our ranges, it seemed that we were at the
                                                          2 bottom of the range.
                                                          3 Q. Who is "we"?
                                                          4 A. "We" being myself, and I had a discussion

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                                                            5 with Mike Williams [African American] that he was saying he felt like he
                                                            6 was near the bottom of a range, too. He didn't tell
                                                            7 me specifically what he made or anything but ...

Reece, Phyllis            During   CMD / CGD             282:14 A. I don't know exactly, but I know I wasn't paid                        282
Plaintiff               Employment Norfolk, VA             15 what -- the job that I was doing. I wasn't
                                                           16 compensated for the work that I was doing.
03/03/93 - 01/02/00                                        17 That's the only thing I could say. I wasn't
                                                           18 compensated.


Reid, Angela Y.         1996-1998    Charlotte, NC      5. I felt that Cargill discriminated against African Americans. . . . From my    Para. 5
Declarant - Potential                                   experience and observations, I felt that I and other African Americans were      53-57 (03/30/04)
Class Member                                            limited to certain jobs and would never be able to advance into positions of     77-80 (04/27/04)
                                                        higher pay or higher authority.
10/16/95 - 01/14/100


Reid, Angela Y.            1997      Charlotte, NC      6. Since starting at Cargill, I felt I was underpaid. I complained once about my Para. 6
Declarant - Potential                                   compensation. In early 1997, we all received a raise. I questioned the           16-23 ((04/27/04)
Class Member                                            amount of raise I received compared to the loan processors. I felt that with my
                                                        experience and education, that I should have received a bigger raise. Mr.
10/16/95 - 01/14/100                                    Daugherty [Caucasian Manager]and Ms. Ehrenfreund told me only that raises
                                                        were dependent on how much the branch brought in. They did not explain
                                                        why my raise, in particular, was lower than others.


Reid, Angela Y.            1997      Charlotte, NC      9. There was also a point where I was given more responsibility without a        Para. 9
Declarant - Potential                                   change in job title, pay grade or pay. After I had been at Cargill for about a   25-31 (04/27/04)
Class Member                                            year, I was asked to complete research on other accounts in addition to my
                                                        regular job duties. I felt that another person could have worked full time on
10/16/95 - 01/14/100                                    that job alone. Yet, here I was, doing my job and another job, and I did not
                                                        even get a raise.




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Ross, Tonya             During   Dayton, OH          158: 19 A. I think prior to my negative review with Marty I            158-59
Plaintiff             Employment                        20 had great reviews, I had good reviews, and from reviewing
                                                        21 some of my employee records, even then I was at the low
12/10/91 - 06/16/01                                     22 end of the pay scale or the range of that pay scale and
                                                        23 that was when I had good reviews. The lack of
                                                        24 opportunity for training, the money I could have made if
                                                        25 the position had been given to me instead of Marty, the
                                                     159: 1 difference between what my salary and his salary was, and
                                                        2 the frustration, the frustration that I went through in
                                                        3 that department basically, and a lot of times whether
                                                        4 they want to call it managing or not, there was a lot of
                                                        5 times I was running the department because there was no
                                                        6 one else that was qualified to do so.

Ross, Tonya              1995      Dayton, OH          245: 11         And Annette really did do a good job while I         245
Plaintiff                                                12 was gone and I found out later that Annette received a
                                                         13 $5,000 bonus. And I think where this -- and that was a
12/10/91 - 06/16/01                                      14 very hush-hush, quiet-quiet thing.
                                                         15             . . .I felt there were several times
                                                         16 where myself and I think along with Jody Wilson were
                                                         17 pretty much the only two for a number of weeks in the
                                                         18 department that were competent enough to pretty much
                                                         19 handle things. That's when the cutbacks were going
                                                         20 through and there was so much turnover within the
                                                         21 department. And we barely got a pat on the back.
                                                         22          And I think this is where I felt it was kind
                                                         23 of discriminatory that you give this person a $5,000
                                                         24 bonus and the many years that I had been there and that I
                                                         25 had proven to handle the department, I got nothing. . . .

Scott, Charles          During   CFI                   524:25 A. From what I've seen today, looks like the                  524-25
Plaintiff             Employment Minnetonka, MN        525: 1 average pay scale of an African-American versus a
                                                         2 Caucasian is lower. At the time when I was working
02/11/91 - 05/02/98                                      3 for the company I kind of had a sense of that but I
                                                         4 could not prove it.




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Scott, Charles           1997    CFI                 533:15 Q. Okay. And so you have come to your own                      533-34
Plaintiff                        Minnetonka, MN         16 conclusion with respect to Mr. Wright?
                                                        17 A. No. Due to the fact I was involved in the
02/11/91 - 05/02/98                                     18 process of recruiting him I did have some access and
                                                        19 knowledge of what he was offered initially.
                                                        20 Q. Okay. And what was the first position he
                                                        21 took at the company?
                                                        22 A. As a sales merchant.
                                                        23 Q. In which division?
                                                        24 A. That was in Grain division.
                                                        ***
                                                     534: 16 Q. Do you feel that his initial compensation was
                                                        17 discriminatory in any way?
                                                        18 A. His initial compensation was lower than
                                                        19 others.

Simmons, Clintonia      During   CFI                   74:16 Q. Tell me about the compensation issue. Why do you           74
Plaintiff             Employment Corn Milling, TN       17 say that you believe you were not compensated fairly?
                                                        18 A. Well, I had a gut feel about it, but I also, and
06/01/88 - 07/06/98                                     19 after seeing documents of my, the minimum, the midpoint
                                                        20 and the maximum of my grade class, it confirmed it for
                                                        21 me, because I was not paid the minimum for my job and I
                                                        22 don't understand how you could have a minimum for a job
                                                        23 and be offered the job and not paid that. And in the
                                                        24 entire time I was in the job, I never reached the minimum
                                                        25 pay of that job class.

Simmons, Clintonia      During   CFI                   81: 5 Q. But you don't know who sets those minimums?                81-82
Plaintiff             Employment Corn Milling, TN        6 A. Other than the company sets the minimums.
                                                         7 Towards the end of my career, the company decided to
06/01/88 - 07/06/98                                      8 allow the employees to know their grades. So it has -- I
                                                         9 mean, from that I can say that the company sets the grade
                                                        10 standards. They of course, they know what they are and
                                                        11 they know what the salaries are supposed to be, but we
                                                        12 were not allowed to know that.
                                                        13 Q. And when you refer to "the company," you're
                                                        14 referring to Corn Milling?
                                                        15 A. I'm referring to Cargill. Because I believe the
                                                        16 salary grades, I'm not positive about this, but I believe
                                                        17 they were the same throughout Cargill. If you're a grade
                                                        18 six, you know, this is the range, if you're a grade

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                                                          19 seven, this is the range that you're supposed to be in.
                                                          20 So I just jumped from, you know, I jumped several grades
                                                          21 and they still should have paid me the minimum of that
                                                          22 grade class.
                                                          23 Q. Do you know anyone else who was paid less than
                                                          24 the minimum for their grade class?
                                                          25 A. I do know of another African American that was
                                                        82: 1 paid less.

Smith, Candy            During   CIS                  5. I feel that I was not adequately compensated for my work at Cargill. I    Para. 5-7
McKinnon              Employment Chicago, IL          started out making around $18,000. I was aware of Caucasian co-workers       122-126
Declarant                                             making more than I was. For example, people would discuss salaries
                                                      sometimes in the lunchroom and, as a receptionist, I was sort of like “Dear
04/27/92 - 08/02/97                                   Abby,” so everyone would talk to me. I believe that Lori Keever (Caucasian),
                                                      who used to do administrative work and computer work, made more than I did.
                                                      6. I complained from time to time about my salary to whoever was my
                                                      manager at the time. They would tell me that they would try to see what they
                                                      could do. Then they would come back later and say that I was making close
                                                      to what Sharon Cess was making, so I could not get a raise.
                                                      7. There were also times when my responsibilities increased without a change
                                                      in title or pay. It seemed that Sharon Cess did not come to work often. She
                                                      would take off two to three months at a time. I would then have to do my job
                                                      duties as well as hers.

Tyler, Emily             1996      CIS                 49:13 A. The bonus that I received when I was a                            49
Plaintiff                          Chicago, IL           14 position controls balancer, in that position.
                                                         15 Q. What about that was discriminatory?
05/26/92 - 08/05/00                                      16 A. I believe it was less than what staff
                                                         17 accountant 4s were given. That's my belief.
                                                         ***
                                                      89:15 A. Well, with the, you receive bonus at the end
                                                         16 of the year and it's based upon your review, your PMP
                                                         17 review, and the PMP is heavily weighted in what they
                                                         18 call the key results area, and my key results area I
                                                         19 had all "exceeds," but my overall rating was a
                                                         20 "meets," and I ended up with a bonus of $2,500, which
                                                         21 was less than any bonus I had ever received.
                                                         22 Q. So was this in 1995 or 1996?
                                                         23 A. This is in 1996.



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Name / Empl. Dates     Time Frame Division / Location Evidence                                                                    Source
Tyler, Emily           1995-1996 CIS                   71: 5 Q. So other than what we've already discussed,                  71
Plaintiff                         Chicago, IL            6 is there anything else that you believe was
                                                         7 discriminatory about that situation?
05/26/92 - 08/05/00                                      8 A. I believe that was one of the items, the fact
                                                         9 that I never got an increase in salary, and I believe
                                                         10 I also mentioned the bonus while I was in that
                                                         11 position.
                                                         12 Q. So those both relate to the time you were in
                                                         13 position controls?
                                                         14 A. Yes.
                                                         15 Q. So when you testified that you didn't get a
                                                         16 salary review or increase for 20 months, that was
                                                         17 during the time period when you were first in
                                                         18 accounting and then over in position controls and
                                                         19 then back in accounting again?
                                                         20 A. I believe so.

Tyler, Emily              1999      CIS                 104:22 A. My contention is that I was doing the duties               104-05
Plaintiff                           Chicago, IL           23 of the accounting manager much longer than the time
                                                          24 that I was promoted to accounting manager. My salary
05/26/92 - 08/05/00                                       25 did not, during this time that I was performing those
                                                        105: 1 duties, did not reflect the salary of the accounting
                                                          2 manager.

Williams, Jacqueline     During   WW PHOSPH             42: 5 Q. Okay. What's the basis for your belief that                 42
Plaintiff              Employment WW FERTDIS                6 the company discriminated against you on the basis of
                                                            7 your race?
06/07/93 - 05/08/02                                         8 A. They didn't promote me, they didn't
                                                            9 compensate me, they didn't give me the same bonuses,
                                                           10 and ultimately they terminated me.




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Name / Empl. Dates     Time Frame Division / Location Evidence                                                                  Source
Williams, Jacqueline      1996    CMD / CGD            60: 1 Q. Sure. Did you, at any point in time, feel                   60-62
Plaintiff                         Minnetonka, MN          2 that you were being compensated unfairly?
                                                          3 A. Yes.
06/07/93 - 05/08/02                                       4 Q. Okay. When was the first time you believed
                                                          5 that?
                                                          6 A. The first time was in 1996.
                                                          7 Q. Okay. What was the basis for your belief?
                                                          8 A. The fact that I thought I was in a position
                                                          9 that had a different salary range than the one that I
                                                         10 was in.
                                                         11 Q. Did you believe that you were in a -- let me
                                                         12 rephrase the question. Did you believe that you were
                                                         13 not in an I/T technical analyst position because of
                                                         14 your race?
                                                         15 A. I don't know. At that time I don't know.
                                                         16 Q. Do you believe that your compensation was set
                                                         17 in the '93 to '96 time frame or that Cargill set your
                                                         18 compensation in that time frame based on your race?
                                                         19 A. I do today.
                                                         20 Q. What's the basis for that belief?
                                                         21 A. The fact that I wasn't again where I, where I
                                                         22 was told I was supposed to be, and the fact that my
                                                         23 peers were making more money and receiving larger
                                                         24 bonuses and given more responsibilities and
                                                         25 promotions.
                                                         ***
                                                       61:25 Q. And what led you to believe that they were
                                                       62: 1 being paid more?
                                                          2 A. Some of them told me.




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Name / Empl. Dates     Time Frame Division / Location Evidence                                                                  Source
Williams, Jacqueline   1993-1996 CMD / CGD             72:17 Q. What do you base your belief on that your                   72-73
Plaintiff                         Minnetonka, MN         18 bonuses in the Grain division were calculated based
                                                         19 on your race?
06/07/93 - 05/08/02                                      20 A. The fact that some of my coworkers got
                                                         21 bonuses that were larger than mine.
                                                         22 Q. Anything else?
                                                         23 A. No.
                                                         24 Q. How did you know that some of your coworkers
                                                         25 got bonuses that were larger than yours in the Grain
                                                       73: 1 division?
                                                         2 A. They told me.
Williams, Jacqueline      2000      WW PHOSPH           78:16 Q. What's the basis for your belief that your                 78
Plaintiff                           WW FERTDIS           17 bonuses in Fertilizer were set based on your race?
                                    Tampa, FL            18 A. The fact that my coworkers received larger
06/07/93 - 05/08/02                                      19 bonuses.
                                                         20 Q. And who were those?
                                                         ***
                                                         23 Q. How did you find out about the size of their
                                                         24 bonuses?
                                                         25 A. They told me.

Williams, Jacqueline      2000      WW PHOSPH           82: 2 Q. Tell me what you talked with Ms. Kennedy                   82-83
Plaintiff                           WW FERTDIS            3 about?
                                    Tampa, FL             4 A. She prepared that handwritten document and
06/07/93 - 05/08/02                                       5 showed me the formula, discussed the formula, and
                                                          6 showed the bonuses for two years prior to the year we
                                                          7 were discussing. That's it.
                                                          8 Q. Okay. Did that make you feel better about
                                                          9 your bonus in terms of how it was calculated?
                                                         10 A. No.
                                                         11 Q. What about it, what about that conversation
                                                         12 concerned you?
                                                         13 A. That my bonus was only, like somewhere in the
                                                         14 range of a hundred dollars more than what it had been
                                                         15 the year prior, and I didn't understand why, based on
                                                         16 the formula, that it was only a hundred dollars more
                                                         17 when my coworkers were significantly larger.
                                                         ***
                                                         24 Q. Did Ms. Kennedy explain to you why your bonus
                                                         25 was not significantly larger than your prior year's

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                                                         83: 1 bonus?
                                                           2 A. What she said was that, she questioned how
                                                           3 did I know that my coworkers' bonuses were larger and
                                                           4 I had no business with that information and I should
                                                           5 not be discussing that with them, and other than
                                                           6 that, no, she didn't say anything about why it was
                                                           7 only a hundred dollars more.

Williams, Jacqueline   1999-2001    WW PHOSPH           86: 4 Q. How many separate meetings did you have with               86-87
Plaintiff                           WW FERTDIS            5 Stephen about compensation?
                                    Tampa, FL             6 A. I can only remember one.
06/07/93 - 05/08/02                                       7 Q. Tell me about that meeting. What did you
                                                          8 say?
                                                          9 A. I remember looking at some document that
                                                         10 showed the range for the technical, I/T technical
                                                         11 analyst. It had my salary on it and what the Compa
                                                         12 ratio was, and he talked about, he said something in
                                                         13 regards to the Compa ratio being a hundred percent,
                                                         14 and that's generally when you get promoted or that
                                                         15 was one of the factors that was looked at, and that I
                                                         16 was either there or very close to being there.
                                                         ***
                                                         87: 3 Q. Were you satisfied with that explanation?
                                                          4 A. No.
                                                          5 Q. Why not?
                                                          6 A. Because if I was that close or at a hundred
                                                          7 percent, then I should have been promoted and that
                                                          8 the lack of promotion was preventing me from making
                                                          9 more money and that there was no clear explanation as
                                                         10 to why I wasn't being compensated more or promoted.
                                                         11 There was just no good answer.
                                                         12 Q. Did Mr. Murray tell you it was because of
                                                         13 behavioral competencies that needed work?
                                                         14 A. He didn't say that the behavioral
                                                         15 competencies were in fact keeping me from being
                                                         16 promoted, he just said that he would like to see me
                                                         17 work on some areas and that would help.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                  Source
Willis, Cheryl        1993-1997 Admin                 70: 13 A. The problems that I had with Julie Nekola was              70-71
Plaintiff                        Minnetonka, MN         14 her inability to adequately represent me as a, to
                                                        15 adequately represent me when it came time for salary
06/02/86 - 05/01/01                                     16 discussions. I constantly was receiving low
                                                        17 increases and expressed concerns about those things
                                                        18 to her, and then I asked her was I being given low
                                                        19 grades consistently in terms of salary because of my
                                                        20 race. And at that point she brought John Bjelland in
                                                        21 to the picture and we had to, and I had a discussion
                                                        22 with John Bjelland, and it was at that time that he
                                                        23 told me that perhaps there had been an error in the
                                                        24 increase percentage that I should have received, but
                                                        25 he warned me not to be so quick about using the race
                                                      71: 1 card and that I would be labeled as one using a race
                                                        2 card for me to continue to do that.
                                                        ***
                                                        21 Q. Did he actually use the words "race card"?
                                                        22 A. Yes.

Willis, Cheryl        1993-1997    Admin               386: 18 Q. When, at what specific point in time did you             386
Plaintiff                          Minnetonka, MN        19 first believe that you were being unfairly
                                                         20 compensated?
06/02/86 - 05/01/01                                      21 A. I thought it strange early on that my
                                                         22 increases seemed to be pretty small, but I felt that,
                                                         23 that assurance when a manager had me go through their
                                                         24 desk to find something and I stumbled across a
                                                         25 listing of employee salaries, and that happened some
                                                       387: 1 time ago so I don't remember the specifics. But I
                                                         2 remember looking at myself in comparison to other
                                                         3 employees that were white individuals, I think Lisa
                                                         4 Broden was one. I cannot recall who some of the
                                                         5 others were, but then it just was clear to me that I
                                                         6 wasn't being appropriately compensated.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                    Source
Willis, Cheryl          During   Admin               386: 8 Q. Why do you believe that you were unfairly                   386
Plaintiff             Employment Minnetonka, MN         9 compensated?
                                                        10 A. I was slow in receiving promotions, I was
06/02/86 - 05/01/01                                     11 slow in receiving increases. I believed that I was
                                                        12 given less increase than my peers, at least on one
                                                        13 account it was admittedly so through John Ringquist.
                                                        14 Through my, as I indicated before, once I was
                                                        15 demoted, any additional increases were significantly
                                                        16 smaller. That's what comes to mind at the, at the
                                                        17 moment.

Wint, Steve              2001       Salt               157: 1 Q. You also talked about salary increases. What              157
Plaintiff                           Tampa, FL            2 are your complaints about salary increases?
                                                         3 A. Caucasian employees that was hired after me was
04/17/00 - 02/26/04                                      4 hired in a -- hired for a higher
                                                         5 salary . . .
                                                         ***
                                                         7       . . . They were given . . .
                                                         8 the same salary that they were making from their
                                                         9 previous -- previous job.

Wint, Steve            After 2000   Salt               161:13 Q.                                                           161
Plaintiff                           Tampa, FL            17 Q. Why do you believe that he [Dixon] was paid more than
                                                         18 you had been paid?
04/17/00 - 02/26/04                                      19 A. The base of what I started out with and what I
                                                         20 was told, that new hires or salaries are
                                                         21 different because -- to attract employees.

Wint, Steve             During   Salt                  165:10 Q. Do you have any complaints about those merit              165
Plaintiff             Employment Tampa, FL               11 increases?
                                                         12 A. Yes.
04/17/00 - 02/26/04                                      13 Q. What are your complaints about the merit
                                                         14 increases?
                                                         15 A. They gave me an increase and also gave other
                                                         16 Caucasian employees increases. It's not going
                                                         17 to give me a chance to catch up to those
                                                         18 employees that has less experience than I do.




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